
*259OPINION.
Sternhagen :
This appeal must fall for lack of evidence. While in some cases it may be true that accounts receivable are not collectible to the full extent of their face value, this is a question of fact as to which the finding must properly be. based upon evidence. Here the taxpayers have not proven the actual value of any of the 300 accounts in question but have contented themselves with a general statement that 10 per cent is believed to be a fair discount. This is a conclusion and standing alone is insufficient.
As to the inventory which the taxpayers allege was worth less than the book value, we are likewise without evidence. The witness merely said that some of the stock on hand was slow and some was quick. He could not remember whether at the close of 1919 values of stock in trade in the grocery business were going up or down. He had himself priced the inventory, placed it upon the books, and in the absence of convincing evidence we can not now say that he was then in error; and in the absence of proof as to its actual value we can not say that the book value was too high.
Upon the record we must approve the action of the Commissioner.
